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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                      Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                               MDL No. 3004
 This Document Relates to All Cases




                         CASE MANAGEMENT ORDER NO. 5

ROSENSTENGEL, Chief Judge:

         At the status conference held earlier today, the Court imposed the following dead-

lines:

         1. Lead counsel for each party shall agree on a proposed protective order no later

            than Friday, July 30, 2021. If counsel are unable to agree on the appropriate

            language by that date, they shall, on or before Friday, July 30, 2021, submit a

            joint written statement—not to exceed 3 pages—to the Court at Para-

            quatMDL@ilsd.uscourts.gov and explain the areas of disagreement.

         2. Once the Court enters the protective order, Defendants shall have 7 days to

            submit the Hoffmann document production, including all discovery, deposition

            transcripts, expert reports, and pleadings, to a document depository.

         3. The parties’ position papers referenced in Case Management Order No. 1 (p. 5)

            shall   be    submitted    ex   parte      to   the   undersigned   at   Para-

            quatMDL@ilsd.uscourts.gov on or before Friday, August 6, 2021. Each position

            paper shall not exceed 20 pages.

         4. The parties shall continue working on a Coordination Order, ESI Protocol, and

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        Plaintiffs’ Fact Sheet and are encouraged to reach out to the Special Master,

        Randi Ellis, for assistance as needed.

     5. Questions regarding case filings, case transfers, or other filing issues shall be

        directed to Jessica Robertson at Jessica_Robertson@ilsd.uscourts.gov or

        (618) 482-9434 or Mary Rakers at Mary_Rakers@ilsd.uscourts.gov or (618) 482-

        9229.

     6. The next status conferences will be held:

           x    Friday, August 27, 2021, at 10 a.m.

           x    Friday, September 24, 2021, at 10 a.m.

           x    Friday, October 29, 2021, at 10 a.m.



     IT IS SO ORDERED.

     DATED: July 23, 2021

                                                 ___________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




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